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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


    IN RE: JOHNSON & JOHNSON                   MDL No. 16-2738 (MAS) (RLS)
    TALCUM POWDER PRODUCTS
    MARKETING, SALES
    PRACTICES, AND PRODUCTS
    LIABILITY LITIGATION

    THIS DOCUMENT RELATES TO
    ALL CASES


  REPLY IN SUPPORT OF THE PLAINTIFFS’ STEERING COMMITTEE’S
          MOTION FOR PROTECTIVE ORDER REGARDING
       SUBPOENA DIRECTED AT NORTHWELL HEALTH, INC.

        Pursuant to Federal Rule of Civil Procedure 26(c), Plaintiffs, by and through

  the Plaintiffs’ Steering Committee (“PSC”), submit this Reply in support of their

  Motion for Protective Order Regarding Subpoena served by Defendant Johnson &

  Johnson on non-party Northwell Health, Inc. on December 13, 2023.

                                 INTRODUCTION

        Defendant’s Opposition provides an excruciatingly detailed history of Dr.

  Jacqueline Moline’s work as a researcher studying the link between cosmetic talc

  and mesothelioma, as well as her expert work on behalf of plaintiffs in mesothelioma

  litigation. Defendant even attaches more than 1,000 pages of exhibits, including Dr.

  Moline’s mesothelioma studies, expert reports from mesothelioma cases, deposition

  transcripts, and the medical records of plaintiffs in mesothelioma cases. Perhaps


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  some of this mass of mesothelioma-focused background information about Dr.

  Moline would be pertinent if: 1) the MDL included mesothelioma cases; 2) Dr.

  Moline was an expert in the MDL, or 3) any of the Plaintiffs’ experts relied on Dr.

  Moline’s studies to support their opinions in the MDL. Yet, none of these things are

  true.

          This begs the obvious question: If the information sought by Defendant’s

  subpoena—the identities of mesothelioma victims included in Dr. Moline’s

  cosmetic talc-mesothelioma studies—is as critical as Defendant alleges, why is

  Defendant attempting to obtain it in this ovarian cancer MDL rather than in

  mesothelioma litigation where Dr. Moline serves as an expert? The short answer,

  discussed in full below, is that defendants in mesothelioma cases throughout the

  country have repeatedly attempted to obtain the same information and failed. Non-

  party Northwell should not be forced to expend time and resources fighting this latest

  attempt to obtain Dr. Moline’s sensitive research information when it is so clearly

  irrelevant to the MDL. The PSC has standing to seek a protective order enjoining

  the production of irrelevant information, and therefore respectfully requests that the

  Court grant a protective order pursuant to Fed. R. Civ. P. 26(c) relieving Northwell

  of any obligation to comply with the subpoena.

                                     ARGUMENT




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     1. The PSC has standing to move for a Rule 26(c) protective order regarding
        a subpoena directed at a non-party on relevance grounds in the Third
        Circuit.

        The PSC has standing to move for a protective order pursuant to Rule 26(c),

  and Rudelli v. Eli Lilly & Co. is not an “outlier” case in the Third Circuit. 2020 WL

  13694732, at *2 (D.N.J. Nov. 13, 2020). In Rudelli, the defendant objected to the

  plaintiff’s attempt to subpoena the new employers of the defendant’s former

  employees. Id. at *1. The court first analyzed the defendant’s standing to file a

  motion to quash the subpoena served on the non-party, and concluded the defendant

  could not:

        “object to the subpoenas on privilege grounds…and the subpoenas are not
        seeking any information regarding or involving Defendants. Additionally,
        Defendant does not have a privacy interest in the subpoenaed
        information…the Court finds that Defendant has no standing to object to the
        third-party subpoenas.”

  Id. at *2. After concluding that no protected interest was at stake and that the

  defendant did not have standing to file a Rule 45 motion to quash, the court next

  conducted a separate relevance analysis and denied the motion for protective order

  pursuant to Rule 26(c) after determining that the information sought was relevant.

  Id. If Defendant’s contention that a party must establish both a personal interest and

  irrelevance to confer standing for a Rule 26(c) protective order was true, there would

  have been no reason for the Rudelli court to conduct a separate relevance analysis




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  after having already determined that the defendant had no interest at stake. The

  inquiry would have necessarily ended.

        In the lead case cited by Defendant to purportedly rebut Rudelli, the court

  clearly stated that while the defendant did not have standing to file a motion to quash

  a nonparty subpoena on relevance grounds, it did “have standing under Rule 26 to

  move for a protective order to enjoin the production of irrelevant information for

  subpoenas issued to non-parties…As such, the Court will turn to the question of

  whether the information sought is relevant to this action.” Aetrex Worldwide, Inc. v.

  Burten Distribution, Inc., 2014 WL 7073466, at *5 (D.N.J. Dec. 15, 2014) (emphasis

  supplied). The court then analyzed whether the subpoenaed information was relevant

  to the case and concluded that it was. Id. at *5. The Court did not analyze whether

  the subpoenaed information jeopardized the defendant’s interests or identify any

  applicable privilege or confidentiality issue as part of the Rule 26(c) motion for

  protective order analysis.

        These decisions track the general principle that courts have broad authority to

  grant protective orders pursuant to Rule 26. In Staff4Jobs, LLC v. List Logistics,

  LLC, the plaintiff filed a motion to quash a subpoena served by the defendant on a

  non-party law firm that sought discovery materials from a different lawsuit. 2020

  WL 13580942, at *1 (D.N.J. Oct. 19, 2020). The court began by noting that a party

  has standing to bring a motion to quash pursuant to Rule 45 on behalf of a non-party


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  when the party itself claims a personal right or privilege in the production sought.

  Id. at *2. However, “[e]ven if the moving party has no standing as traditionally

  considered under Rule 45, it may nonetheless seek to prevent the discovery pursuant

  to Rule 26.” Id. at *3 (citing Aetrex, 2014 WL 7073466, at *5) (moving party “does

  have standing under Rule 26 to move for a protective order to enjoin the production

  of irrelevant information for subpoenas issued to non-parties”). The court went on:

        Here, the Court does not need to decide the issue of standing under Rule 45.
        As a matter of the Court’s inherent authority to engage in case management,
        I find that it is appropriate to consider the motion as one for a protective order
        pursuant to Rule 26, given the relevance concerns it raises.

  Id. at *3 (citing Khosroabadi v. Mazgani Soc. Serv., Inc., 2018 WL 1858153, at *3

  (C.D. Cal. Mar. 1, 2018) (under Rule 26 and the discretion granted to courts to

  manage discovery, a court may sua sponte grant a protective order for good cause

  shown) (emphasis supplied). The court then considered the defendant’s relevance

  arguments, deemed them “unpersuasive,” and granted a protective order pursuant to

  Rule 26. Id. at *4. The plaintiff was not required to articulate any personal interest

  to obtain a protective order from the court—the analysis was limited to relevance.

        There are numerous other examples of cases in this district that do not mention

  “jeopardized interests” at all as part of the Rule 26(c) protective order analysis. See,

  e.g., Lilac Development Group, LLC v. Hess Corporation, 2016 WL 3457012, at *2

  (D.N.J. Jun. 20, 2016) (noting “[u]nder Rule 26(c) a party can seek a protective order

  for a third-party subpoena where the discovery sought is irrelevant,” and denying

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  motion for protective order because subpoenaed documents were relevant);

  Government Employees Insurance Co. v. Koppel, 2023 WL 5526809, at *4 (D.N.J.

  Aug. 28, 2023) (stating parties have standing under Rule 26(c) to seek protective

  orders regarding subpoenas issued to non-parties based on “relevance, breadth and

  proportionality, and any privacy or confidentiality concerns,” and analyzing the

  defendants’ motion for protective order based solely on the breadth and

  proportionality argument having previously rejected the privacy argument in the

  motion to quash analysis). 1

        At best, Defendant’s handful of cherry-picked cases from outside the Third

  Circuit demonstrate that there is some degree of variation in the way courts in


  1
    Other Third Circuit courts also regularly analyze Rule 26(c) motions for
  protective order based solely on relevance. In Contour Data Solutions LLC v.
  Gridforce Energy Management, LLC, the court noted that “[u]nlike Rule 45, Rule
  26(c) grants nonproducing parties standing to move for a protective order.” 2022
  WL 3907530, *2 (E.D. Pa. Jul. 25, 2022). The Contour defendant subpoenaed a
  non-party for information that it argued was “relevant to its contractual defenses”
  against the plaintiff’s claims. Id. The court agreed the information was relevant and
  denied the motion for protective order. Id. The court’s standing and substantive
  analyses were focused solely on relevance, not any purported “interests” or other
  factors. In Smith v. HCSC-Blood Center, Inc., the plaintiff subpoenaed the
  defendant’s experts for copies of their reports in other cases, IRS forms, and copies
  of appointment books. 2010 WL 4104669, at *2 (E.D. Pa. Oct. 18, 2010). The
  defendant sought a protective order pursuant to Rule 26(c). The court noted that
  “irrelevancy satisfies the good cause requirement” and granted the protective order
  because of the plaintiff’s “failure to show particular relevance of the requested
  reports” and other documents. Id. at *3-4. Here again, there was no mention of
  “interests” as a standing requirement, and the non-party expert’s reports from other
  cases, IRS documents, and appointment books clearly did not implicate any
  “interest” of the defendant itself.

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  different jurisdictions analyze a party’s standing to challenge a subpoena directed at

  a non-party pursuant to Rule 26(c). 2 And a party’s alleged protected interests can

  certainly also provide a sufficient basis for the party to challenge a subpoena directed

  at a non-party. But to be clear, Defendant’s contention that relevance alone is not a

  sufficient basis to challenge a subpoena directed at a non-party pursuant to Rule 26

  is not just unsupported by applicable Third Circuit case law, it is contradicted by

  some of the very cases Defendant cites. 3


  2
    Many other Circuits analyze the standing question the same way as the Third
  Circuit. For example, in a Fifth Circuit case, the court explained that while a party
  cannot challenge a subpoena directed to a non-party pursuant to Rule 45 on
  relevance grounds, “[n]evertheless, a party has standing to move for a protective
  order pursuant to Rule 26(c) seeking to limit the scope of discovery, even if the
  party does not have standing pursuant to Rule 45(d) to bring a motion to quash a
  third-party subpoena.” Bounds v. Capital Area Family Violence Intervention
  Center, Inc., 314 F.R.D. 214, 218 (M.D.La. 2016). In the Eleventh Circuit, parties
  have limited standing to quash subpoenas pursuant to Rule 45, but parties “clearly
  have standing to move for a protective order if the subpoenas seek irrelevant
  information.” Auto-Owners Ins. Co. v. Southeast Floating Docks, Inc., 231 F.R.D.
  426, 429 (M.D.Fla. 2005). See also Washington v. Thurgood Marshall Academy,
  230 F.R.D. 18, 22 (D.D.C. 2005) (“The Court need not address the [Rule 45]
  standing issue, however, as defendant, as a party to this action asserting no
  privilege, proprietary interest, or personal right to the information, should have
  moved for a Rule 26(c) protective order. The Court therefore deems defendant’s
  motions to quash as, in the alternative, motions for protective order, and will
  evaluate the motions according to the standard enunciated in Rule 26, including
  whether the information sought is relevant to any claims or defenses in this case.”).
  3
    In addition to selectively reading Rudelli and Aetrex, Defendant misses the mark
  in Costantino v. City of Atl. City as well. The Costantino court noted “[t]here is
  authority for the position that a party can move for a protective order in regard to a
  subpoena issued to a non-party which seeks irrelevant information,” and then
  “deem[ed] plaintiff’s motion to quash [the] subpoena to be the equivalent of a
  motion for protective order pursuant to Fed. R. Civ. P. 26(c).” 2015 WL 12806490,

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     2. Plaintiffs’ experts do not rely on Dr. Moline’s studies to support their
        opinions regarding talcum powder products and ovarian cancer.

        None of the MDL Plaintiffs’ experts rely on Dr. Moline’s mesothelioma

  studies to support any of their opinions. Defendant’s entire relevance argument rests

  on three insignificant references in three expert reports.

  •     Dr. Rigler includes Dr. Moline’s 2020 study on his “Documents List” along
  with 127 other documents. See Exhibit 28 attached to Defendant’s Opposition. Dr.
  Rigler and Dr. Longo do not cite Dr. Moline’s study anywhere in their reports and
  do not rely on it to reach their opinions. Dr. Rigler has testified in mesothelioma
  cases and his list of materials includes other mesothelioma studies as well as other
  documents relevant to his opinions in mesothelioma cases.

  •      Dr. Moline’s 2020 study is included in Dr. Plunkett’s “List of Materials and
  Data Considered” in her Second Amended Report—a 100+ page document that also
  includes Defendant’s own documents and materials. See Exhibit 29 attached to
  Defendant’s Opposition. Dr. Plunkett does not cite to Dr. Moline’s study anywhere
  in her report and does not rely on it to reach her opinions which relate only to ovarian
  cancer and regulatory matters. Moreover, Dr. Plunkett has never referenced Dr.
  Moline’s studies during any of her depositions or appearances in this litigation.

  •     Dr. Singh’s only reference to Dr. Moline is in his Appendix of “Included and
  Excluded Citations” where he marks her 2023 study as excluded from consideration
  because the studies’ subjects did not have ovarian cancer. See Exhibit 30 attached to
  Defendant’s Opposition.




  at *3 (D.N.J. Nov. 4, 2015). Further noting that a subpoena is always subject to the
  limitations of Rule 26, the court concluded it had “discretion to sua sponte bar
  discovery if the burden or expense of the discovery outweighs its benefit…the
  requested…records are irrelevant [and] Plaintiff should not have to waste an ounce
  of effort reviewing the documents that have nothing to do with the case.” Id. The
  court explicitly rejected the subpoenaing party’s standing argument: “The Court
  does not accept the notion that a party can subpoena irrelevant documents in a case
  with impunity.” Id.

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        Defendant, to borrow its own words, takes a “great leap of imagination” from

  these scant references to argue that the mesothelioma studies hypothetically “could

  be” presented to a jury at an MDL ovarian cancer trial even though the Plaintiffs’

  experts are not relying on the studies, Dr. Moline is not an expert in the MDL, and

  none of the Plaintiffs suffer from mesothelioma. Opposition at 15-16. The reality is

  that Dr. Moline’s mesothelioma studies were not used at any of the fourteen ovarian

  cancer talc trials that have proceeded in other jurisdictions—Defendant’s failure to

  cite evidence to the contrary speaks volumes. Nor will Dr. Moline’s mesothelioma

  studies be introduced at any MDL ovarian cancer trials. They are simply irrelevant.

     3. Defendants in various mesothelioma cases have previously tried and
        failed to obtain the same information about Dr. Moline’s research
        subjects, and there is no valid basis for them to obtain the information
        here when it is irrelevant to the Plaintiffs’ claims and experts’ opinions.

        Defendant and other companies named as defendants in mesothelioma cases

  throughout the country have been trying to discredit Dr. Jacqueline Moline and her

  work regarding the causal link between cosmetic talc and mesothelioma for many

  years. As part of that effort, various defendants have tried repeatedly to obtain the

  identities of the mesothelioma victims included in her case studies. Having failed to

  convince other courts that the identities of those individuals is relevant even in

  mesothelioma litigation, Defendant now makes a last-ditch effort to obtain the

  information in this ovarian cancer MDL where its irrelevance is even more apparent.




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      In the mesothelioma case Gref v. American International Industries, et al.

(S.D.N.Y. 1:20-cv-05589-GBD-VF), defendant American International Industries 4

subpoenaed Northwell for the same information Defendant seeks here—the

identities of the research subjects included in Dr. Moline’s peer-reviewed article.

See Memorandum in Support of Non-Party Northwell Health Inc.’s Motion, attached

as Exhibit A. Dr. Moline was an expert for the plaintiff in the Gref case. Northwell

argued that it would be improper to identify research subjects both under the

“bedrock and widely accepted IRB requirements of confidentiality and privacy” and

because Northwell is a “covered entity” under the Health Insurance Portability and

Accountability Act (“HIPAA”) and de-identifying research subjects would divulge

their protected health information.” Id. at pp. 5-6. Northwell later also noted that the

mesothelioma plaintiff was withdrawing any purported reliance on Dr. Moline’s

article. See Exhibit B. On May 19, 2023, the court denied the defendant’s motion to

compel compliance with the portions of the subpoena objected to by Northwell,

including the defendant’s request for the identities of the research subjects. See

Exhibit C.

      In short, Northwell already fought and won this same battle less than one year

ago in a mesothelioma case where Dr. Moline actually served as an expert. Northwell


4
 Johnson & Johnson and Johnson & Johnson Consumer Companies, Inc. were
originally named as defendants in this case but had been terminated by the time the
Northwell subpoena issue was briefed and decided.

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should not be forced to expend time and resources yet again on the same issue when

the information sought is irrelevant to ovarian cancer cases, where Dr. Moline is not

an expert, and where none of Plaintiffs’ experts are relying on her studies. 5

      Defendant points to one of Dr. Moline’s study subjects, Ms. Betty Bell, whose

identify was deanonymized in a cosmetic talc case in North Carolina (Bell v.

American International Industries, Inc.), to support its argument that it is somehow

appropriate to now deanonymize the identities of every one of the individuals

included in the studies. However, it is important to note that Ms. Bell’s identity was

revealed in the case where she was the plaintiff. She had filed a separate workers’

compensation claim based on occupational exposure to asbestos that theoretically

put her exposure history at issue. Moreover, numerous trial courts have repeatedly

precluded or limited arguments or cross-examination regarding Ms. Bell at trial in

mesothelioma cases where Dr. Moline served as an expert. 6


5
  In another mesothelioma case in the Superior Court of New Jersey, Middlesex
County, defendant Chanel Inc. moved to compel the “underlying case information”
from Dr. Moline’s mesothelioma case study. The Court denied the motion, noting
that the same issue had been similarly rejected in the jurisdiction before. See
Exhibit D, August 19, 2021 Order Denying Chanel Inc.’s Application to Compel
Discovery From Plaintiff.
6
  See Order in Metcalf v. Barretts Minerals, Inc., et al., Superior Court of the State
of California for the County of Los Angeles, Case No. JCCP4674/22STCV21416,
dated June 22, 2023, attached as Exhibit E; Excerpt of Transcript from Chapman
v. Avon, et al., dated Nov. 2, 2022, attached as Exhibit F, at 23:7-24:7; Excerpt of
Transcript from Chatfield v. Avon Products, Inc., et al., Circuit Court of the State of
Oregon for the County of Multnomah, Case No. 210CV40522, dated Feb. 6, 2023,
attached as Exhibit G, at 1754:12-1759:2; 1808:10-1811:22.

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      Trial judges have also prohibited the cross-examination of Dr. Moline at trial

regarding the identity of the human subjects included in her mesothelioma studies.

At a trial in the New Jersey Superior Court, Middlesex County, Judge Ana C.

Viscomi recognized the significant distinction between exploring Dr. Moline’s

methodology and identifying the subjects of her studies.

The Court: Didn’t that question you just asked seek to identify the person?

…

Attorney: Exactly. Well, she should identify the person to me.

The Court: Why?

Attorney: Well, because she made a representation in the public literature that
there’s no other exposure to asbestos, right? Well, I’m in the case and I know that
not to be true…I’m just saying based on your methodology, you didn’t know this
woman has a sworn complaint saying she was exposed to thermal insulation at her
workplace.

The Court: Thank you. I have no issue with you cross-examining individually with
regard to all of the different reports that you have or that she may have referenced in
that paper that she co-authored, but seeking to identify is inappropriate and so I’m
not going to permit that.

      …

The Court: But you’re asking Dr. Moline to testify as to whether this person is that
person that you referred to…and that I will not permit. It’s inappropriate. It’s
improper.” 7



7
 See Johnson/Lashley v. AII, et al., Case No. MID-L-006651-16 ASL, MID-L-
007336-16AS, Excerpt of Trial Transcript, dated 3/11/20, attached as Exhibit H, at
216:24-221-2 (emphasis added).

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      This is all consistent with case law establishing that the information Defendant

seeks is confidential and must be protected. 8 See Farnsworth v. Procter & Gamble

Co., 758 F.2d 1545, 1547 (11th Cir. 1985) (affirming trial court’s decision to keep

names of medical study participants confidential); Lampshire v Procter & Gamble

Co., 94 F.R.D. 58 (N.D. Ga. 1982) (granting protective order over all personal

identifying information about participants in study conducted by the CDC). 9

      Even Defendant’s own MDL expert, Dr. Gregory Diette, a pulmonologist,

previously testified in a mesothelioma case about the importance of protecting the

identity of the research subjects included in Dr. Moline’s article:




8
  Plaintiffs have not waived this argument. Although Plaintiff’s primary objection
to the production of this information in the MDL is relevance, Plaintiffs also
explicitly raised the patient confidentiality issues multiple times in their opening
brief and now respond to the arguments raised by Defendant in its Opposition. See
Rec. Doc. 28913-1 at 3 (“…Johnson & Johnson seeks irrelevant information from
a third-party hospital…and intrudes on the privacy interests of non-party patients
who have no connection to this litigation.”); Id. (“…discovery…implicate[s] the
privacy interests of multiple non-party mesothelioma victims.”); Id. at 5 (“Johnson
& Johnson’s attempt to obtain this irrelevant information is particularly egregious
because it implicates the confidential health information of non-party patients.
Courts have ‘a responsibility to protect privacy and confidentiality interests’…”);
Id.
9
  See also Doe v. Am. Red Cross Blood Servs., S.C. Region, 125 F.R.D. 646 (D.S.C.
1989) (denying motion to compel identity of blood donor plaintiff claimed caused
her to contract HIV because privacy interests outweighed plaintiff’s need for
questioning); see also Braintree Laboratories, Inc. v. Novel Laboratories, Inc.,
2013 WL 12170639, at *2 (D.N.J. Apr. 3, 2013) (granting motion to seal
documents, including confidential patient medical data from clinical trials and
research conducted relating to such trials).

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“Q: And so it would be unethical and you would have as a medical doctor some real
 concerns if the individual, these 33 patients, if their identifies were actually
 disclosed publicly?

A: Well, so actually disclosed and maybe there’s some reason to do that but that’s
why we have ethics boards. Right? And that’s why research goes through a process.
So I don’t know of anybody who’s done it but you can certainly approach your ethics
board and say, you know, I would like to reveal the identity of these people that I’m
putting into a medical journal, is that okay. And they could say it’s okay or it’s not
okay. And if they did, there would be an informed consent process. You know, not
just signing a consent form but with a real consent process for that. So yes, this is
unusual. It’s not what I’m familiar with my colleagues doing routinely.

Q: Why is that important? Why is it important to go through that ethics board process
and to get informed consent, a real informed consent before disclosing the identity
of human subjects in this type of publication?

A: This is a medical research about a patient. We have rules about how to do human
subjects for certain things and they’re meant to protect the study subjects themselves
and protections are at various levels depending on what the potential for harm. But
generally speaking, there’s one of the many things that goes into thinking about
preparing a report – excuse me, about human subjects is whether or not you’re going
to be revealing their identity.” 10

      In conclusion, multiple courts have already rejected multiple attempts to

obtain the identities of Dr. Moline’s research subjects. There is no reason for that

information to be disclosed in this MDL. It simply has no relevance here and

Defendant has failed to establish otherwise.

                                  CONCLUSION




10
   See Excerpt of Deposition of G. Diette, M.D., dated 6/19/20, attached as Exhibit
I, at 118:10-119:16 (emphasis added).


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      Defendant should not be permitted to use this litigation as an end-run around

prior failed attempts to obtain the same information in mesothelioma cases. There

are no allegations of mesothelioma caused by talcum powder products in the MDL

master complaint, Dr. Moline is not an expert in this MDL, and Plaintiffs’ experts

do not rely on her mesothelioma studies to support their opinions regarding

Defendant’s talcum powder products causing ovarian cancer or anything else.

      Northwell has already expended considerable time and resources successfully

litigating against various defendants’ attempts to reveal Dr. Moline’s mesothelioma

research subjects in other mesothelioma cases. Northwell has now expended

additional time and resources objecting to Defendant’s subpoena in the MDL.

Northwell should not be burdened further. For these reasons, the PSC respectfully

requests that this Court issue a protective order pursuant to Rule 26(c), relieving non-

party Northwell from any obligation to comply with Defendant’s subpoena.

Dated: January 29, 2024                        Respectfully submitted,

                                               /s/ P. Leigh O’Dell
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                         CERTIFICATE OF SERVICE

      I hereby certify that on January 29, 2024, I electronically filed the foregoing

document with the Clerk of the Court using the CM/ECF system which will send

notification of such filing to the CM/ECF participants registered to receive services

in this MDL.

                                              Respectfully submitted,


                                              /s/ P. Leigh O’Dell
                                              P. Leigh O’Dell



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